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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION
                                 _____________________________________


The STATE of TEXAS, et al.,

           Plaintiffs,

v.                                                               Civil Action No. 3:22-cv-00780-M

JOSEPH R. BIDEN JR., in his official capacity
as President of the United States, et al.,

           Defendants.




                                   JOINT STATUS REPORT
                            REGARDING JURISDICTIONAL DISCOVERY

           Pursuant to the Court’s Order of August 22, 2022, ECF No. 50, the parties1 jointly provide

the Court with an update on the status of jurisdictional discovery.

           Since the last update to the Court, the parties have engaged in further discussions and have

confirmed the scope of Plaintiff’s challenge to the CAM program and what type of information

will be sought in jurisdictional discovery. The parties plan to simultaneously serve their written

discovery requests on March 1, 2023.

           In light of this activity, the parties respectfully request that the Court continue the stay

governing this matter and continue to hold all pending deadlines in abeyance. The parties will file

a joint status report providing a further update on the progress of jurisdictional discovery on or by

March 15, 2023.




1
    Plaintiff State of Arizona will soon be withdrawing from this case and does not join in this report.
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Dated: February 15, 2022                   Respectfully submitted,


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                                      Certificate of Service

       On February 15, 2023, I electronically submitted the foregoing document with the Clerk

of Court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                    /s/ Joseph A. Darrow
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                                                    U.S. Department of Justice




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